Case 8:08-cr-00435-JSM-AEP Document 76 Filed 05/19/09 Page 1 of 2 PageID 221




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                        Case No. 8:08-cr-435-T-30MAP

PETER BATTLE, III,

       Defendant.



                           FINAL JUDGMENT OF FORFEITURE


       THIS CAUSE comes before the Court upon the filing of the Motion by the United

States for a Final Judgment of Forfeiture (Doc. 75) pursuant to the provisions of Fed. R.

Crim. P. 32.2(c)(2), 21 U.S.C. § 853 and 21 U.S.C. § 853(n)(7), for $2,090.00 in U.S.

currency.

       1.      On March 16, 2009, the Court granted the United States’ motion and entered

the Preliminary Order of Forfeiture, forfeiting to the United States of America all right, title,

and interest of defendant Peter Battle, III, in the $2,090.00 in U.S. currency. (Doc. 62).

       2.      In accordance with the provisions of 21 U.S.C. § 853(n), the United States

published notice of the forfeiture, and of its intent to dispose of the currency, on the official

government website, www.forfeiture.gov, from March 17, 2009 through April 15, 2009.

(Doc. 69). The publication gave notice to all third parties with a legal interest in the

currency to file with the Office of the Clerk, United States District Court, Middle District of

Florida, Sam Gibbons Federal Courthouse, 2nd Floor, 801 North Florida Avenue, Tampa,
Case 8:08-cr-00435-JSM-AEP Document 76 Filed 05/19/09 Page 2 of 2 PageID 222




Florida 33602, a petition to adjudicate their interest within sixty (60) days of the first date

of publication.

             3.            No persons or entities, other than the defendant Peter Battle, III, whose

interest was forfeited to the United States in the Preliminary Order of Forfeiture, are known

to have an interest in the $2,090.00 in U.S. currency. No third party has filed a Petition of

Ownership, and the time for filing such Petition has expired.

             4.            The Court finds that the $2,090.00 in U.S. currency is the property of

defendant Peter Battle, III.

             Accordingly, it is hereby

             ORDERED, ADJUDGED and DECREED that the United States’ motion (Doc. 75)

is GRANTED. It is FURTHER ORDERED that all right, title and interest in the $2,090.00

in U.S. currency is CONDEMNED and FORFEITED to the United States of America,

pursuant to the provisions of Fed. R. Crim. P. 32.2(c)(2), 21 U.S.C. § 853 and 21 U.S.C.

§ 853(n)(7), for disposition according to law.

             Clear title to the $2,090.00 in U.S. currency is now vested in the United States of

America.

             DONE and ORDERED in Tampa, Florida on May 19, 2009.




Copies furnished to:
Counsel/Parties of Record
F:\Docs\2008\08-cr-435.fj forfeit 75.wpd




                                                        2
